                                                                                                                                                    IN THE UNITED STATES DISTRICT COURT

                                                                                                                                                        FOR THE DISTRICT OF ALASKA

                                                                                                                      UNITED STATES OF AMERICA,                   )
                                                                                                                                                                  )
                                                                                                                                       Plaintiff,                 )
                                                                                                                                                                  )
                                                                                                                      vs.                                         )
                                                                                                                                                                  )
                                                                                                                      CHRISTOPHER GORDON,                         )       Case No. 4:19-cr-00009-RRB-SAO
                                                                                                                                                                  )
                                                                                                                                                                  )
                                                                                                                                       Defendant.                 )
                                                                                                                                                                  )
                                                                           PHONE (907) 222-7100, FAX (907) 222-7199
                                           ANCHORAGE , ALASKA 99501-1990
REEVES AMODIO LLC
                    500 L STREET , SUITE 300




                                                                                                                                        DEFENDANT’S NOTICE OF INTENT TO CHANGE PLEA

                                                                                                                              COMES NOW, Christopher Gordon, by and through counsel, and hereby notifies the Court

                                                                                                                      of his intent to change his plea of not guilty to a plea of guilty to Count I of the information.

                                                                                                                      Defendant further alerts the Court that it can take Mr. Gordon’s plea at the currently scheduled

                                                                                                                      final pretrial conference in this matter on Thursday, November 20, 2019. An additional sentencing

                                                                                                                      hearing will need to be scheduled as a component of the plea agreement is open to the Court. A

                                                                                                                      formal plea agreement will be filed prior to the November 20, 2019 hearing.




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                                                                                                                      USA v. Gordon;
                                                                                                                      Case  4:19-cr-00009-RRB-SAO
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                                                                                                                                 DATED this 13th day of November, 2019.

                                                                                                                                                                                 REEVES AMODIO LLC.



                                                                                                                                                                         By:        /s/ Brian J. Stibitz
                                                                                                                                                                                 Brian J. Stibitz
                                                                                                                                                                                 ABA# 0106043
                                                                                                                                                                                 brian@reevesamodio.com


                                                                                                                      CERTIFICATE OF SERVICE

                                                                                                                      I certify that a true and accurate copy of the foregoing
                                                                                                                      was faxed the 13th day of November, 2019 to:
                                                                           PHONE (907) 222-7100, FAX (907) 222-7199
                                           ANCHORAGE , ALASKA 99501-1990
REEVES AMODIO LLC




                                                                                                                      Ryan D. Tansey
                    500 L STREET , SUITE 300




                                                                                                                      Assistant United States Attorney
                                                                                                                      101 12th Avenue
                                                                                                                      Room 310
                                                                                                                      Fairbanks, AK 99701


                                                                                                                      By:     /s/ Michelle Dehner
                                                                                                                            Michelle Dehner




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